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Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17 Page fL of 15 Page|D #: 12
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA Fj`
INDIANAPOLIS DIVISION ~Z;E
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UNITED STATES OF AMERICA, ) ND/A/\,/A€§(’§Kg GF_@_
l “' 3 z; `"»`F’é§
Plaimiff, ) V’:“"§r‘%»;:z§
)
v. )
) Cause No. l:l7-cr-
ROBIN AURS, ) ( f ® 2 3 1 WTL DML
. ) - ; - g _
Defendant. ) 1 1 q
PETITION TO ENTER PLEA OF GUILTY AND PLEA AGREEMENT

 

 

The United States of America, by counsel, Josh J. Minkler, United States Attorney for the
Southern District of Indiana, and, Jeffrey D. Preston,' Assistant United States Attorney (“the
Government”`), and the defendant, ROBIN AURS (“the defendant”), in person and by counsel,
Heather Winslow, hereby inform the Court that a Plea Agreement has been reached in this case
pursuant to Federal Rule of Criminal Procedure ll(c)(l)(B). The following are its terms and
conditions:

Part 1: Guiltv Plea and Charge

1. Plea of Guilty: The defendant, having waived the right to indictment by a grand

jury, petitions the Court for leave to enter and agrees to enter a plea of guilty to the following

offense(s) charged in the lnformation:
a. Count One, which charges that the defendant committed the offense of
Engaging in the Business of Dealing Firearms without a License, in

Violation of Title 18, United States Code, Section 922(g)(a)(1)(A).

 

v Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17. Page 2 of 15 Page|D #: 13

2. Potential Maximum Penalties: The offense is punishable by not more than ten

(l 0) years’ imprisonment, a $250,000 fine, and not more than 3 years’ supervised release following

any term of imprisonment

3. Elements of the Offense: To sustain the offense(s) to which the defendant is
pleading guilty, the Government must prove the following elements beyond a reasonable doubt:

a. The defendant was not licensed to deal firearms, and;

b. The defendant Willfully engaged in the business of dealing firearms

 

Part 2: General Provisions

4. y Sentencing Court’s Discretion Within Statutory Range: The defendant agrees

and understands that: (A) the Court will use its discretion to fashion a sentence Within the statutory
range(s) set forth above; (B) the Court will consider the factors set forth in 18 U.S.C. § 3553(a) in
determining the appropriate sentence within the statutory range(s); (C) the Court will also consult
and take into account the United States Sentencing Guidelines (“Sentencing Guidelines” or
“U.S.S.G.”) in determining the appropriate sentence within the statutory range(s); (D) the
Sentencing Guidelines are not mandatory or binding on the Court, but are advisory in naturc; (E)
restitution may be imposed; (F) by pleading “Guilty” to more than one offense (Count), the Court
` may order the sentences to be served consecutively one after another; (G) the final determination
concerning the applicable advisory guideline calculation, criminal history category, and advisory
sentencing guideline range will be made by the Court; and (H) by pleading “Guilty,” the Court
may impose the Same punishment as if the defendant had plead “Not Guilty,” had stood trial and

_ been convicted by a jury.

. Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 3 of 15 Page|D #: 14

5. Sentencing Court Not Bound by Guidelines or Recommendations: The
defendant acknowledges that this Plea Agreement is governed by Federal Rule of Crirninal
Procedure ll(c`)(l)(B) and that the determination of the defendant’s sentence is within the
discretion of the Court. The defendant understands that if the Court decides to impose a sentence
higher or lower than any recommendation of either party, or determines a different advisory
sentencing guideline range applies in this cas.e, or decides to impose a sentence outside of the
advisory sentencing guideline range for any reason, then the defendant will not be permitted to
withdraw this plea of guilty for that reason and will be bound by this plea of guilty.

6. Plea Agreement Based on Information Presently Known: The defendant

recognizes and understands that this Plea Agreement is based upon the information presently

 

known to the Government. The Government agrees not to bring other federal charges against the
defendant based on information currently known to the United States Attorney for the Southern
District of Indiana.

The Government will inform the Court and the defendant at the time of taking the
defendant’s plea whether the Government has obtained any information after the Plea Agreement
was signed that may warrant bringing other federal charges against the defendant

7. No Protection From Prosecution for Unknown or Subsequent Offenses: The
defendant acknowledges and agrees that nothing in this agreement shall protect the defendant in
any way from prosecution for any offense not specifically covered by this agreement, or not known
to the United States Attorney for the Southern District of lndiana at this time. The defendant
further acknowledges and agrees that nothing in this agreement shall protect the defendant in any
way from prosecution for any offense committed after the date of this agreement

8. Rights Under Rule ll(b), Fed. R. Crim. P.: The defendant understands that the _

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. Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 4 of 15 Page|D #: 15

Government has the right, in a prosecution for perjury or false statement, to use against the b

defendant any statement that the defendant gives under oath during the guilt
~ defendant also understands that the defendant has the right: (A) to plead
already so pleaded, the right to persist in that plea; (B) to a jury trial; (C)
counsel--and if necessary have the court appoint counsel--at trial and at ev
proceedings, including appeal; and (D) to confront and cross-examine ad\
protected from compelled self-incrimination, to testify and present evident
attendance of witnesses The defendant also understands that the Constitutio

to be considered for release until trial‘; and if found guilty of the charge(s),

y plea colloquy. The
not guilty, or having
to be represented by
ery other stage of the
'erse Witnesses, to be
:e, and to compel the
n guarantees the right

the right to appeal the

 

conviction on such charge(s) to a higher court. The defendant understands that if the Court accepts

this plea of guilty, the defendant waives all of these rights.

Part 3: Sentence of Imprisonment

9. Sentencing Recommendation Pursuant to Federal Rule of Criminal

Procedure 1 l(c)(l)(B): The parties have riot agreed upon a specific sentenc
the right to present evidence and arguments concerning what they believe

sentence in this matter

e. The parties reserve

to be the appropriate

a. Government’s Recommendation: The Government has agreed to

recommend a sentence at the lowest end of the advisory Guideline range
and will not request an upward departure or variance, provided that the
defendant (i) continues to fully accept responsibility for the offense, (ii)

does not commit a new criminal offense before the date of any sentencing,

 

‘Title 18, U.S.C. §§ 3141-3156, Release and Detention Pending Judicial Proceedings.

 

, Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 5 of 15 Page|D #: 16

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and (iii) does not otherwise violate the terms of any pre-trial release before

the date of sentencing
b. b Defendant’s Recommendation: n The defendant may recommend any

sentence, including a sentence below the advisory Guideline range.

10. Supervised Release: Both parties reserve the right to present evidence and
arguments concerning whether the Court should impose a term of supervised release to follow any
term of imprisonment in this case, the duration of any term of supervised release, and the terms
and conditions of the release.

11. Conditions of Supervised Release: The parties understand and`agree that the

Court will determine which standard and special conditions of supervised release to apply in this

 

case. The parties reserve the right to present evidence and arguments concerning these conditions
Part 4: Monetarv Provisions and Forfeiture
12. Mandatory Special Assessment: The defendant will pay a total of $100.00 on
the date of sentencing or as ordered by the Court to the Clerk, United States District Court,
which amount represents the mandatory special assessment fee imposed pursuant-to 18 U.S.C. §

3013.
_13. Fine: The parties agree that the defendant shall not pay a fine.
14. Restitution: The parties agree that the defendant shall not pay restitution
a. The defendant agrees that, while the District Court sets the payment
schedule, this schedule may be exceeded if and when the defendant’s
financial circumstances change In that event, and consistent with its

Statutory obligations, the Government may take any and all actions

 

. Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 6 of 15 Page|D #: 17

necessary to collect the maximum amount of restitution in the most

expeditious manner available.

15. Obligation to Pay Financial Component of Sentence: If the defendant is unable

to pay any financial component of the defendant’s sentence on the date of sentencing, then the
defendant agrees that the payment of the financial component should be a condition of supervised
release as well as an ordered payment through the lnmate Financial Respons ibility Program of the
U.-S. Bureau of Prisons. The defendant has a continuing obligation to pay the financial component

of the sentence The defendant further agrees that as of the date of filing this Plea Agreement the

 

defendant will provide all requested financial information, including privacy waivers, consents, -
and releases requested by the Government to access records to verify thedefendant’s financial
disclosures, to the Government for use in the collection of any fines, restitution, and money
judgments imposed by the Court and authorizes the Government to obtain credit reports relating
to the defendant for use in the collection of any fines and restitution, and money judgments
imposed by the Court. 'I`he>defendant also authorizes the Government to inspect and copy all
financial documents and information held by the United States Probation Office. If the defendant
is ever incarcerated in connection with this case, the defendant will participate in the Bureau of
Prisons lnmate Financial Responsibility Program, regardless of whether the Court specifically
directs participation or imposes a schedule of payments
f Part 5: F actual Ba_si§ for Ggiltv Plea

16. The parties stipulate and agree that the following facts establish a factual basis for
the defendant’s plea(_s) of guilty to the offense(s) set forth in Paragraph One, above, and that the
Government would be able to establish the following facts beyond a reasonable doubt in the event

this cause was to proceed to trial. The following information is only a summary of the

 

. Case 1:17-cr-00231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 7 of 15 Page|D #: 18

Government’s evidence This Plea Agreement is not intended to foreclose tie presentation of and
the Government reserves the right to present additional evidence at the time of sentencing
Between on or about February 28, 2017, and on or about May 8, 2017, the defendant sold
approximately seventy-seven (77) firearms to Juwan Kemp, an individual the defendant knew as
“Juan."’ The defendant purchased the firearms from online gun websites (such as Gunbroker.com)
and had them sent to a Federal Firearins Licensee in Knightstown, Indiana. The defendant would
then fill out the Bureau of Alcohol, Tobacco, Firearms, and Explosives (AT F) paperwork and pay
a nominal transfer fee He would then sell the firearms to Kemp shortly the reafter, often four (4)
or (5) at a time, making a small profit on most but not all of the firearms Most of the transactions

took place in the lndianapolis area, which is within the Southern District of Indiana.

 

Kemp deceived the defendant, leading the defendant to believe Kemp was a resident of
Indiana and an employee of the United States Parcel S'ervice, when in fact Kemp lived in Chicago,
lllinois. A check of ATF records revealed that defendant has never applied for a federal firearms
license and is not a federal firearms licensee

Part 62 ()ther Conditions

17 . Background Information: The defendant acknowledges and understands that no
limitation shall be placed upon the Court’s consideration of information concerning the
background, character, and conduct of the defendant for the purpose of imposing an appropriate
sentence The defendant acknowledges and understands that the Government is not prohibited
from providing information concerning background, character, and conduct of the defendant for

the purpose of recommending or advocating an appropriate guideline calculation and sentence

 

,Case1:17-cr-00231-WTL-DI\/|L Document7 Filed11/22/17 Page

8 of 15 Page|D #: 19

18. Good Behavior Requirement: The defendant agrees to iiilly comply with all

conditions of release imposed by the Court during all stages of this case lf

the defendant fails to

fully comply with such conditions, then the Government may withdraw from this Agreement

19. Compliance with Federal and State Laws: The defendant
obligations of the Government in this Plea Agreement are expressly continge
abiding by federal and state laws.

Part 7: Sentencing Guideline Stipulations

20. Guideline Computations: Pursuant to Section 6Bl .4

Guidelines, the parties agree to the Stipulations below. The parties understan

understands that the

nt upon the defendant

of the Sentencing

d and agree that these

 

Stipulations are binding on the parties but are only a recommendation to t

he Court and that the

Court will determine the advisory sentencing guidelines applicable in this case The parties agree

that no stipulation regarding any factors in Chapter 4, Criminal History Category, of the

Sentencing Guidelines has been made, and that such determination will be made by the Court. The

2016 version of the Sentencing Guidelines has been used by the parties to

set forth below.

make the stipulations

a. Applicable Sentencing Guideline: The parties agree that the applicable

Sentencing Guideline for Count l, Engaging in the Business of Dea}ing Firearms without

a License, is U.S.S.G. §ZKZ. l, Which covers prohibited transactions

involving firearms

b. Base Offense Level: As to Count One of the Information, Engaging in the

Business of Dealing in Firearms without a License, the base offense level is twelve (`12),

pursuant to §2K2.l(a)(7). The offense level is increased six levels (+6`) pursuant to

§2K2.l(b)(l)(C) because the offense involved between twenty-five

(25) and ninety-nine

 

» Case 1:17-cr-OO231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 9 of 15 Page|D #: 20

(99) firearms Accordingly, the defendant’s offense level for sentencing purposes under
the U.S.S.G. is eighteen (18).
c. Acceptance of Responsibility: To date, the defendant has demonstrated a

recognition and affirmative acceptance of personal responsibility for the defendant’s

 

criminal conduct. Based upon the defendant’s willingness to accept a Plea Agreement and

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enter a plea of guilty to the criminal conduct noted in this agreemeni [and the defendant’s

agreement to cooperate in and not to contest the forfeiture of the prop§erty described above],

the Government agrees that the defendant should receive a two (2) le\iel reduction provided

the defendant satisfies the criteria set forth in Guideline § 3El . l (a) up to and including the

time of sentencing The defendant timely notified the Government of`édefendant’s intention

to enter a plea of guilty, thereby permitting the Government and the Court to allocate their

resources efficiently. Af`ter the Defendant enters a plea of guilty, the Government intends

to file a motion pursuant to U.S.S.G. § 3El.l(b) requesting that th`e Court decrease the

offense level by one (l) additional level. The parties reserve the right to present evidence

and arguments concerning the defendant’s acceptance of responsibility atf the time of

sentencing

d. Final Offense Level: Fifteen (l 5)
hart 8: Waiver of Rith to AnDea_l

21. l)irect Appeal: The defendant understands that the defendant has a statutory
right to appeal the conviction and sentence imposed and the manner in which the sentence was
determined Acknowledging this right, and in exchange for the concessions made by the
Government in this Plea Agreement, the defendant expressly waives the defendant’s right to appeal

the conviction imposed in this case on any 'ground, including the right to appeal conferred by 18

 

» Case 1:17-cr-OO231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 10 of 15 Page|D #: 21

U.S.C.'§ 3742. The defendant expressly waives the defendant’s right tr appeal the sentence
imposed in this case on any ground, including the right to appeal conferred by 18 U.S.C. § 3742.
This blanket waiver of appeal specifically includes all provisions of the guilty plea and sentence
imposed, including the length and conditions supervised release and the am aunt of any fine

22. Later Legal Challenges: Additionally, the defendant expressly agrees not to
contest, or seek to modify, the defendant’s conviction or sentence or the manner in which either
was determined in any later legal proceeding, including but not limited to, ar action brought under
18 U.S.C. § 3582 or 28 U.S.C. § 2255.v As concerns this Section 3582 waiver, should the United
States Sentencing Commission and/or Congress in the future amend the Sentencing Guidelines to

lower the guideline range that pertains to the defendant’s offense(s) and explicitly make such an

 

amendment retroactive, the Government agrees that it will not argue that this waiver bars the
defendant from filing a motion with the.district court pursuant to 18 U.S.C. § 3582(c)(2) based on
that retroactive Guidelines amendment However, if the defendant files such a motion, the
Government may oppose the motion on any other grounds Furthermore, should the defendant
seek to appeal an adverse ruling of the district court on such a motion, the Government may claim
that this waiver bars such an appeal. As concerns the Section 2255 waivei§, the Waiver does not
prevent claims, either on direct or collateral review, that the defendant received ineffective
assistance of counsel.

23. No Appeal of Supervised Release Term and Conditions: The parties’
reservation of the rights to present evidence and arguments in this Court concerning the length and
conditions of supervised release is not intended to be inconsistent with the Waiver of Appeal
specified above, which includes a waiver of the right to appeal to the length'and conditions of the

period of supervised release

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.Case1:17-cr-OO231-WTL-DI\/|L Document7 Filed 11/22/17 Page

Part 9: Presentence Ir_rvcstigation Report

11 of 15 Page|D #: 22

24. The defendant requests and consents to the commencement of a presentence

investigation by probation officers of the United States District Court for purposes of preparing a

Presentence Investigation Report at this time and prior to the entry of a formal plea of guilty.

25. The defendant further requests and consents to the review of the defendant’s

Presentence Investigation Report by a Judge, defendant’s counsel, the defendant, and the

Government at any time, including pn`or to entry of a formal plea of guilty.

Part 10: Immigration Consequences

26. The defendant recognizes that pleading guilty may have consequences with respect

to the defendant’s immigration status if the defendant is not a citizen of the

federal law, a broad range of crimes are removable offenses, including the

 

United States. Under

offenses to which the

defendant is pleading guilty, The defendant also recognizes that removal will not occur until

service of any sentence imposed in this case has been completed Removal and other immigration

consequences are the subject of a separate proceeding, however, and the defendant understands

that no,one, including the defendant’s attorney or the Court, can predict to a certainty the effect of

the conviction in this case on the defendant’s immigration status. The defendant nevertheless

affirms that the defendant wants to plead guilty regardless of any immigrat

ion consequences that

this plea may entail, even if the consequence is the defendant’s removal from the United States.

Part 11: Statement of the Defendant

27 . By signing this document, the defendant acknowledges the following:

a. l have received a copy of the lnformation and have

read and discussed it

with my attorney. l believe and feel that I understand every accusation made against me

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. Case 1:17-cr-OO231-WTL-DI\/|L Document 7 Filed 11/22/17 Page L2 of 15 Page|D #: 23

in this case. l wish the Court to omit and consider as waived by me all readings of the
lnformation in open Court, and all further proceedings including my arraignment

b. l have told my attorney the facts and surrounding circumstances as known
to me concerning the matters mentioned in the lnformation, and believe and feel that my
attorney is fully informed as to all such matters My attorney has sine e informed, counseled
and advised me as to the nature and cause of every accusation aga..nst me and as to any
possible defenses I might have in this case

c. l have read the entire Plea Agreement and discussed it with my attorney.

d. l understand all the terms of the Plea Agreement and those terms correctly

reflect the results of plea negotiations

 

e. Except for the provisions of the Plea Agreement, no officer or agent of any

branch of Government (federal, state or local), nor any other person, has made any
promise or suggestion of any kind to me, or within my knowledge to anyone else, that l
would receive a lighter sentence_, or probation, or any other form of leniency, if l would
plead “Guilty.” l respectfully request that the Court consider in mitigation of punishment
at the time of sentencing the fact that by voluntarily pleading “Guilty” l have saved the
Government and the Court the expense and inconvenience of a trial. I understand that
before it imposes sentence, the Court will address me personally and ask me if I wish to
make a statement on my behalf and to present any information in mitigation of punishment

f. l am fully satisfied with my attorney’s representation during all phases of
this case My attorney has done all that anyone could do to counsel and assist me and that
l fully understand the proceedings in this case against me.

g. I make no claim of innocence, and I arn freely and voluntarily pleading

12

 

' Case 1:17-cr-OO231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 13 of 15 Page|D #: 24

guilty in this case
h. I am pleading guilty as set forth in this Plea Agreement because l am
guilty of the crime(s) to which l arn entering my plea.
i. l understand that if convicted, a defendant who is not a United States
Citizen may be removed from the United States, denied citizenship, and denied admission
to the United States in the future
j. My attorney has informed me, and l understand, that I have the right to
appeal any conviction and sentence that l receive, unless I have waived my right to appeal

as part of this Plea Agreement If l have not waived my right to appeal, l understand that

 

I must file a Notice of Appeal within fourteen (14) days of the entry of the judgment in this
case; I further understand that the Clerk of the Court will prepare and file a Notice of
Appeal on my behalf if I ask that to be done. I also understand that the United States has
the right to appeal any sentence that l receive under this Plea Agreement

k. l\/ly attorney has informed me, and l understand, that if l provide or cause
to be provided materially false information to a judge, magistrate-j udge, or probation
office, then Section 3Cl.l of the Sentencing Guidelines allows the Court to impose a two-
level increase in the offense level.

l. If this cause is currently set for trial on the Court’s calendar, l request that
this date be continued to permit the Court to consider this proposed guilty Plea Agreement
l further understand that any delay resulting from the vCourt’s consideration of this proposed
guilty Plea Agreement, up to and including the date on which the Court either accepts or

rejects my guilty plea, will be excluded in computing the time within which trial of this

cause must commence, pursuant to 18 U.S.C. § 3 l 61(h)(l)(G).

13

 

'Case 1:17-cr-OO231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 14 of 15 Page|D #: 25

Part 122 Certii"icate of Counsel

28. By signing this document, the defendant’s attorney and counselor certifies as
follows:
a. l have read and fully explained to the defendant all the accusations against

the Defendant which are set forth in the Inforination in this case',

b. To the best of my knowledge and belief each state ment set forth in the

foregoing petition to enter plea of guilty and Plea Agreement is in all respects accurate and

' true;

c. The plea of “Guilty” as offered by the defendant in the foregoing petition to

 

enter plea of guilty and Plea Agreement accords with my understanding of the facts as
related to me by the defendant and is consistent with my advice to the defendant;

d. In my opinion_, the defendant’s waiver of all reading of the lnforrnation in
open Court, and in all further proceedings including arraignment as provided in Rule 10,
Fed§ R. Crim. P., is voluntarily and understandingly made; and l rec omrnend to the Court
that the waiver be accepted by the Court;

e. In my opinion, the plea of “Guilty” as offered by the defendant in the
foregoing petition to enter plea of guilty and Plea Agreement is voluntarily and

understandingly made and l recommend to the Court that the plea of “Guilty” be now

 

accepted and entered on behalf of the defendant as requested in thejforegoing petition to

enter plea of guilty and Plea Agreement

14

 

-. ‘ Case 1:17-cr-OO231-WTL-DI\/|L Document 7 Filed 11/22/17 Page 15 of 15 Page|D #: 26

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Part 132 Final Provision

29. Complete Agreement: The defendant acknowledges that no threats, promises or
representations have been made, nor agreements reached, other than those set forth in this
document, to induce the defendant to plead guilty, This document is the complete and only Plea
Agreement between the defendant and the United States Attorney for the Southern District of
c Indiana and is binding only on the parties to the Plea Agreement, supersedes all prior
understandings if any, whether written or oral, and cannot be modified except in writing, signed

by all parties and filed with the Court, or on the record in open court.

Respectfully submitted,

JOSH J. MINKLER
United States Attorney

 

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As stant United States Attorney

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' Chief, Criminal Division

 

 

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